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                         IN THE T:NITED STATES DISTRICT COI.IRT                        frbd(/odergeat
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                               CRIMINAL NO.

                                                       DATE FILED:

AARON DOUGLAS                                          VIOLATION:
   a/k/a "Poodie"                                      18 U.S.C. $ 922(a)(l)(A) (willfully dealing
   a/}i/a "Pootie"                                     in firearms without a license - 1 count)
                                                       l8 U.S.C. $ 922(g)(t) (possession ofa
                                                       firearm by a felon - 3 counts)
                                                       Notice of forfeiture

                                           INDICTMENT

                                           COUNT ONE

THE GRAND JURY CHARGES THAT:

                 From on or about January 13,2023, through April 10,2023, in Philadelphia. in

the Eastem District of Pennsylvania, defendant

                                        AARON DOUGLAS,
                                          a/k/a "Poodie,"
                                          a/l/a "Pootie,"

willfully   engaged in the business ofdealing in firearms without being licensed to do so under the

provisions of Chapter 44, Title 1 8, United States Code.

                 In violation of Title 18, United States Code, Sections 922(a)(1XA) and

e24(a)( I XD).




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                                         COL]NT TWO

THE GRAND JURY FURTHER CHARGES THAT:

               On or about January 13. 2023, in Philadelphia, in the Eastem District   of

Pennsylvania. def'endant

                                     AARON DOUGLAS,
                                       a/k/a "Poodie,"
                                       a/k/a "Pootie,"

knowing he had previously been convicted in the United States District Court ofthe Eastem

District ofPennsylvania ofa crime punishable by imprisonment for      a term exceeding one year,


knowingly possessed a hrearm, that is. a Smith & Wesson, model SW9VE, 9mm caliber semi-

automatic pislol, bearing serial number PBU0040, loaded uith 5 live rounds ol ammunition, and

the firearm was in and affecting interstate and foreign commerce.

              In violation of Title 1 8. United States Code, Section 922(9)( I ).




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                                         COUNT THREE

THE GRAND JURY FURTHER CHARGES THAT:
                            r. i!
               On or about February 15,2023. in Philadelphia, in the Eastem District   of

Pennsy lvania, def-endant


                                       AARON DOUGLAS,
                                         a/k /a "Poodie,"
                                         a/k/a "Pootie,"

knowing he had previously been convicted in the United States District Court of the Eastem

District ofPennsylvania ofa crime punishable by imprisonment for a term exceeding one year.

knowingly possessed   a   firearm, that is, a Beretta, model APX, 9mm caliber semi-automatic

pistol, bearing serial number Axc042796,loaded with 6 live rounds of ammunition, and the

firearm was in and affecting interstate and foreign commerce.

               In violation of Title 18, United States Code, Section 922(g)(l).




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                                           COTINT FOUR

THE GRAND JURY FURTHER CHARGES THAT:

               On or about   April   10, 2023.   in Phitadelphia, in the Eastem District of

Pennsylvania, defendant

                                        AARON DOUGLAS,
                                          a/k/a "Poodie,"
                                          a/k/a "Pootie,"

knowing he had previously been convicted in the United States District Court of the Eastem

District ofPennsylvania of   a crime punishable     by imprisonment for a term exceeding one year,

knowingly possessed a tlrearm, that is, a Glock, model 47, 9mm caliber semi-automatic pistol

with an obliterated serial number, loaded with 6 live rounds of ammunition, and the firearm was

in and affecting interstate and tbreign commerce.

              In violation of Title 18, United States Code, Section 922(g)(l).




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                                    NOTICE OF FORFEITURE

THE GRAND JURY FURTHER CHARGES THAT:

               As a result olthe violations of Title 18, United States Code. Sections

922(a)(l)(A) and 922(9)(1) set forth in this indictment. defendant

                                        AARON DOUGLAS,
                                          a/k/a "Poodie,"
                                          a/k/a "Pootie,"

shall forfeit to the United States of America the firearms and ammunition involved in the

commission of such violations, including:

               1.     a Smith   &   Wesson, model SW9VE, 9mm caliber semi-automatic pistol,

bearing serial number PBU0040;

               2.     aBeretta, model APX, 9mm caliber semi-automatic pistol, bearing serial

number AXC042796;

               3.     a Glock, model 47, 9mm caliber semi-automatic pistol     with an obliterated

serial number; and

               4.     seventeen live rounds of ammunition.

               All pursuant to Title   28, United States Code, Section 2461(c), and   Title   18, United

States Code, Section 924(d).

                                                       A TRUE BILL:




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JACQUELINE C. ROMERO
United States Attorney
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    No

                     UNITED STATES DISTRICT COURT

                                Eastern District of Pennsylvania


                                         Crin.rinal [)ivision



                  THE L]NIT'ED STATES OF AMERICA



                                         AARON DOUGLAS,
                                                    a/k/a "Poodie"
                                                     a,rkla "Pootie"

                                               INI)lC I MIrN               I'


l8 U.S.C. g 922(a)(l)(A) (willl-utly dealing in firearms without a license I count):
       18 U.S.C. $ 922(9)(1) (possession ola firearm by a felon - 3 counts);
                                             Notice ol' lbrfeiture

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